                                           Case 3:23-cv-03417-VC Document 82 Filed 01/22/24 Page 1 of 2




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                                   4                                    UNITED STATES DISTRICT COURT

                                   5                                   NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7     RICHARD KADREY, et al.,                             Case No. 23-cv-03417-VC (TSH)
                                   8                     Plaintiffs,
                                                                                             DISCOVERY ORDER
                                   9              v.
                                                                                             Re: Dkt. No. 81
                                  10     META PLATFORMS, INC.,
                                  11                     Defendant.

                                  12
Northern District of California
 United States District Court




                                  13          The parties have a discovery dispute concerning a proposed protective order. ECF No. 81.

                                  14   Three issues divide them.

                                  15          First, the Court agrees with Plaintiffs that getting the Designating Party’s consent to show

                                  16   a “Confidential” document to a witness in a deposition is an unreasonable burden. In the Court’s

                                  17   experience, litigants often designate every non-public document as “Confidential,” and anything

                                  18   potentially sensitive as “Highly Confidential – Attorneys’ Eyes Only.” The Court is not saying

                                  19   that is the proper or correct way to proceed, merely that it appears to be common. As a result, the

                                  20   “Confidential” designation tends to sweep in a lot of documents for no better reason than that they

                                  21   are non-public, such as emails, and it doesn’t make sense to treat this category of confidentiality as

                                  22   if it concerned very sensitive information. Here, the Plaintiffs’ proposed order already says that

                                  23   witnesses can be shown “Confidential” information only during their deposition, the disclosure

                                  24   has to be reasonably necessary, and the witness has to sign the “Acknowledgment and Agreement

                                  25   to be Bound” unless otherwise agreed by the Designating Party or ordered by the Court. That is

                                  26   sufficient protection. The Court is also concerned that Meta’s proposal would make deposition
                                       preparation unnecessarily difficult for Plaintiffs.
                                  27
                                              For similar reasons, the Court rejects Meta’s proposal that Protected Material should not be
                                  28
                                           Case 3:23-cv-03417-VC Document 82 Filed 01/22/24 Page 2 of 2




                                   1   able to leave the United States. The Court would potentially be amenable to a geographic

                                   2   restriction that was tied to some narrowly defined class of documents or information that

                                   3   presented genuine security risks. But Meta wants to impose the geographic restriction on every

                                   4   single document that has the lowest level of confidentiality, which is unreasonable.

                                   5          Third, Meta proposes to limit Plaintiffs to five paper copies of source code with no ability

                                   6   to make additional copies; instead, Plaintiffs would have to ask Meta to make additional copies.

                                   7   This restriction is unnecessary given the other protections for source code in the Plaintiffs’

                                   8   proposed order, such as that the Receiving Party must maintain a record of any individual who has

                                   9   inspected the source code, and all paper copies of source code have to be maintained in a secured,

                                  10   locked area. The Court is also concerned that Meta’s proposal could effectively involve Meta in

                                  11   Plaintiffs’ work with their experts, which is invasive of work product.

                                  12          Accordingly, the Court adopts Plaintiffs’ proposed protective order. If, with this guidance,
Northern District of California
 United States District Court




                                  13   the parties are now able to stipulate to the entry of a protective order, they should do so. If not,

                                  14   then Plaintiffs shall submit their proposed form of order as a proposed order, removing any
                                       signature blocks and references to it being a stipulation. Either way, it should be set up for the
                                  15
                                       undersigned’s signature.
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                                              IT IS SO ORDERED.
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                                       Dated: January 22, 2024
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                                                                                                      THOMAS S. HIXSON
                                  21                                                                  United States Magistrate Judge

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